               IN THE UNITED STATES COURT OF APPEALS
                       FOR THE FOURTH CIRCUIT

Maryland Shall Issue, Inc., et al.,

      Plaintiffs-Appellants,                          No. 23-1719
v.

Montgomery County, Maryland,

      Appellee



                  MONTGOMERY COUNTY, MARYLAND’S
                         STATUS REPORT

      Pursuant to Federal Rule of Appellate Procedure 12 and Local Rule 12(d),

Defendant-Appellee Montgomery County, Maryland (“County”) respectfully

provides to this Court the following status report:

      The County’s appeal before the Appellate Court of Maryland is now fully

briefed, and the parties await the scheduling of oral argument on the appeal.

      Respectfully submitted,

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                                       COUNTY ATTORNEY


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                         CERTIFICATE OF SERVICE
      I HEREBY CERTIFY that on August 22, 2024, a copy of the foregoing was

filed to be transmitted via this Court’s CM/ECF Electronic Document Filing

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